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                               EXHIBIT D

  Summary of H&K Fees by Task Category
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                                  EXHIBIT D

                 SUMMARY OF FEES BY TASK CATEGORY


   Task     Description                             Total        Total Fees
   Code                                             Hours
   L110     Fact Investigation/Development          355.60       $195,060.00
   L190     Other Case Assessment, Development      135.40        $75,810.00
            & Admin.
   L310     Written Discovery                       45.50         $26,355.00
   L410     Fact Witnesses                          121.90        $70,905.00
   L430     Written Motions and Submissions         339.80       $196,020.00
   P220     Tax                                      8.40          $5,370.00
   P260     Intellectual Property                    2.00          $1,500.00

            Subtotal:                               1,008.60     $571,020.00

            (Less Fee Cap Discount)                             $(123,445.00)

            TOTAL:                                               $447,575.00
